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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                     :
KAPPA ALPHA THETA FRATERNITY,        :
INC.; KAPPA KAPPA GAMMA              :
FRATERNITY; SIGMA CHI; SIGMA         :
ALPHA EPSILON; SIGMA ALPHA           :
EPSILON—MASSACHUSETTS                :
GAMMA; JOHN DOE 1; JOHN DOE 2;       :
JOHN DOE 3,                          :             Civil Action No. 18-cv-12485
                                     :
                  Plaintiffs,        :
                                     :
                 v.                  :
                                     :
HARVARD UNIVERSITY; PRESIDENT :
AND FELLOWS OF HARVARD               :
COLLEGE (HARVARD CORPORATION), :
                                     :
                  Defendant.         :
____________________________________ :


           PARTIES’ JOINT STATUS REPORT REGARDING SETTLEMENT

       Per the Court’s October 2, 2020 directive, the Parties jointly submit this status report to

inform the Court that the Parties have fully executed a settlement agreement resolving this case.

The Parties will file a stipulation of dismissal with prejudice no later than 35 days from now, and

likely sooner, pursuant to terms of the settlement agreement.
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Dated: October 9, 2020                   Respectfully submitted,


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         Case 1:18-cv-12485-NMG Document 74 Filed 10/09/20 Page 3 of 3




                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on the date
of electronic filing.

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